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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 ENBRIDGE ENERGY LIMITED
 PARTNERSHIP, et al.,
                                                            Case No. 1:20-cv-1141
        Plaintiffs,
                                                            HON. JANET T. NEFF
 v.

 GRETCHEN WHITMER, et al.,

       Defendants.
 _______________________________

 STATE OF MICHIGAN, et al.,
                                                            Case No. 1:20-cv-1142
        Plaintiffs,
                                                            HON. JANET T. NEFF
 v.

 ENBRIDGE ENERGY LIMITED
 PARTNERSHIP, et al.,

       Defendants.
 ________________________________/

                                             ORDER

        This matter is before the Court on Ohio Attorney General Dave Yost’s Motion for Leave

 to File an Amicus Curiae Brief Instanter on behalf of the State of Ohio and State of Louisiana in

 Support of the Court’s February 18, 2021 order that the State of Michigan and Enbridge explore

 mediation (ECF No. 16). Ohio Attorney General Yost is seeking to file the proposed amicus brief

 in Case No. 1:20cv1142 (ECF No. 25-1) and proposed appendix exhibits A-I (ECF Nos. 25-2

 through 25-10) and in Case No. 1:20cv1142 (ECF 20-1) and proposed appendix exhibits A-I (ECF

 Nos 20-2 through 20-10). The Court having reviewed the motions and proposed submissions,

 NOW THEREFORE:
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           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Ohio Attorney

 General Dave Yost’s Motion for Leave to File an Amicus Curiae Brief Instanter on behalf of the

 State of Ohio and the State of Louisiana in Support of the Court’s February 18, 2021 order that the

 State of Michigan and Enbridge explore mediation (ECF No. 16) is GRANTED. The Clerk of

 Court shall accept Ohio Attorney General Dave Yost’s amicus brief Case No. 1:20cv1142 (ECF

 No. 25-1) and proposed appendix exhibits A-I (ECF Nos. 25-2 through 25-10) and in Case No.

 1:20cv1142 (ECF 20-1) and proposed appendix exhibits A-I (ECF Nos 20-2 through 20-10) for

 filing.

           IT IS SO ORDERED.

                                                      ____________________________
                                                      JANET T. NEFF
                                                      United States District Judge
